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        EXHIBIT 42
      Filed Under Seal
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REBUTTAL DECLARATION OF MEREDITH ROSENTHAL IN SUPPORT OF THE CERTIFICATION OF
       THE CLASS OF DIRECT PURCHASERS OF DIOVAN, NEXIUM, AND VALCYTE


   United States District Court, District of Massachusetts, In Re Ranbaxy Generic Drug
              Application Antitrust Litigation, MDL No. 19-md-2878-NMG.

                                      March 22, 2021




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I.      EXECUTIVE SUMMARY

1.      I have been asked by counsel for Direct Purchaser Plaintiffs (DPPs or Plaintiffs) in this
matter to respond to the rebuttal report of Dr. Bruce Stangle.1 In my previous report2 I found that
class member injury could be demonstrated using common economic evidence. Further, I
developed and implemented a class-wide methodology based on standard economic practices for
quantifying overcharges incurred by DPPs as a result of the alleged misconduct. Dr. Stangle
attempts to undermine my conclusion that Class-wide impact can be shown using common
evidence by mischaracterizing normal variation in DPP prices. He then proceeds to undertake a
conceptually inappropriate and computationally flawed individualized analysis that he claims
shows uninjured class members. In this analysis, Dr. Stangle introduces what I have been
instructed are unfounded legal assumptions; he also makes adjustments to my yardsticks that I
disagree with on economic grounds. Dr. Stangle’s analysis and resulting conclusions are simply
incorrect and I do not change my opinions from my affirmative report.


II.     INTRODUCTION

2.      My name is Meredith B. Rosenthal. I am the C. Boyden Gray Professor of Health
Economics and Policy at the Harvard T.H. Chan School of Public Health and an Academic
Affiliate of Greylock McKinnon Associates (“GMA”), a consulting and litigation support firm.
My principal research interests concern the economics of the health care industry. My
credentials have been previously submitted to the Court with my initial report; however,
Attachment A contains my updated CV. Attachment B is a list of additional materials I have
relied upon in this declaration.

3.      In my affirmative report, I showed that class member injury can be demonstrated using
common economic evidence. I developed and implemented a class-wide methodology based on
standard economic practices for quantifying overcharges incurred by DPPs as a result of the
alleged misconduct. I applied this model using data produced by brand and generic

1
 Expert Report of Bruce E. Stangle, Ph.D., In Re Ranbaxy Generic Drug Application Antitrust Litigation, MDL
No. 19-md-2878-NMG, February 10, 2021 (hereafter Stangle Report).
2
 Declaration of Meredith Rosenthal in Support of the Certification of the Class of Direct Purchasers of Diovan,
Nexium, and Valcyte, In Re Ranbaxy Generic Drug Application Antitrust Litigation, MDL No. 19-md-2878-NMG,
November 2, 2020 (hereafter Rosenthal Report).


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manufacturers of the three drugs at issue in this matter. I was asked by counsel to assume that
the jury may determine one of a range of entry scenarios absent Ranbaxy’s misconduct – two
each for Diovan and Nexium and one for Valcyte. As I mentioned in my affirmative report, this
methodology can accommodate new data, which, indeed, I have demonstrated below by updating
my results in light of newly produced Nexium data. Should further proceedings require
additional assumptions as to the range of jury determinations, my model can be adjusted to
account for any number of different scenarios based on newly discovered facts or further
developments or changes to but-for generic entry dates.


III.     CLASS-WIDE OVERCHARGES CAN BE CALCULATED USING COMMON PROOF AND DO
         NOT REQUIRE INDIVIDUALIZED INQUIRY

4.        The primary assertion of Dr. Stangle’s report is that “Pharmaceutical payments are
complex and generally require individualized analysis”3 and further that “[t]here is substantial
variation in direct purchaser prices, particularly for generics.”4 He claims that my aggregate
overcharges analysis masks this variation and as a consequence the proposed class includes a
significant number of uninjured class members. Dr. Stangle is incorrect that price variation in
this case precludes the use of an aggregate overcharges model; indeed, the price variation here is
typical for prescription drugs. As I have shown in my affirmative report, due to the dramatic
differences in the actual and but-for prices faced by the class members, all or nearly all were
injured by the alleged conduct. Furthermore, Dr. Stangle fails to show that individual class
members did not sustain overcharges, as he claims.

5.        In my affirmative report, for all scenarios, I used common evidence to show that the but-
for generic price was substantially below the actual brand price, leading to significant brand-
generic aggregate overcharges. Similarly, I showed significant aggregate overcharges for brand
purchases of Diovan and Nexium that would have remained brand purchases but at lower prices,
and for generic purchases of all three generic drugs. The common proof used includes the sales
data produced by the manufacturers of all of the brand and generic drugs in this matter,
corporate forecasts of generic entry, and the academic literature. The manufacturer forecasts and


3
    Stangle Report, p. 26.
4
    Stangle Report, p. 34.


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the academic literature support the proposition that generic entry causes dramatic shifts in market
share to the generics (i.e., about a 88 to 97 percent shift from brand units to generic units),5 and
declines in the prices (i.e., ultimately about a 90 to 97 percent drop from the pre-generic launch
brand price),6 paid by direct customers. These expectations were borne out by data showing
actual sales after the (delayed) relevant generic launches in this matter. Generic market shares
reached over 95% for Diovan generics and Nexium generics, and 90% for Valcyte generics.7
Generic prices declined over 95% for all three generic drugs.8

6.           Dr. Stangle appears to fundamentally misunderstand the standard economic methodology
for calculating generic pricing trends and applying those trends to an alternative but-for scenario.
The academic literature is clear that one should analyze generic pricing trends based on the pre-
generic launch brand price.9 Using such trends, researchers can compare the relative magnitude
of these trends across drugs or across varying scenarios of the number of generic manufacturers.
One should note that the academic research does not go about such inquiries by comparing price
levels across drugs or situations of varying generic entrants. This is intuitive: a brand drug with a
pre-generic launch price of $1000 would have much higher generic prices than a brand drug with
a pre-generic launch price of $50. And generic prices for such drugs would likely never
converge. This is an extreme example, but the logic is the same for the calculation of but-for
prices and overcharges. All else equal, a but-for generic price calculated off of a pre-generic
launch price of             per pill will be much less than the actual generic price that was priced off
of an actual pre-generic brand price of                 (this is the situation with Diovan Scenarios 1 and
2).10 Furthermore, given that the starting price is much lower, an increase in the number of
generic entrants in the second case will cause the two price series to diverge even further. At
some point, the actual and but-for generic prices at wholesale may converge, and when they do


5
     See Rosenthal Report, ¶¶ 51-56 and Figures 8-11.
6
     See Rosenthal Report, ¶¶ 40-46 and Figures 1-4.
7
     See Attachments C.2, C.4, D.2, D.4 and E.2.
8
     Ibid.
9
  See, for examples, H.G. Grabowski, et al., “Updated Trends in U.S. Brand and Generic Drug Competition,”
Journal of Medical Economics, 19(9), 2016, pp. 836-44, and R.G. Frank and R.S. Hartman, “The Nature of
Pharmaceutical Competition: Implications for Antitrust Analysis,” International Journal of the Economics of
Business, 22(2), 2015, pp. 301–343.
10
     See Attachments D.3 and D.5.


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in my data, I have terminated my overcharge calculations. This methodology is sound, and yet
Dr. Stangle characterizes it as merely an “artifact” of a “mechanical approach.”11 This is a
mathematical process, but it is rooted in sound economic theory and methodology, widely
accepted academic research, and is based on the use of actual manufacturer sales data. These are
the aspects of common proof that allow me to conclude that all or nearly all class members were
injured by the challenged conduct. Dr. Stangle does not acknowledge this, and his incorrect
inferences appear to drive other analytical errors, as I discuss below referring to Dr. Stangle’s
flawed analysis of variation and in Section IV.

7.         Dr. Stangle does observe variation in prices, but fails in his attempt to show that this
variation is such that it results in zero or negative overcharges for direct purchaser class
members. To show this, Dr. Stangle attempts to calculate overcharges individually for each
direct customer. His analysis is flawed both conceptually and technically. Conceptually, my
assignment was to determine whether or not common economic evidence exists and can be used
(a) to determine whether all or substantially all members of the proposed classes were impacted
by the wrongful conduct, and (b) to quantify on a class-wide basis the impact of the alleged
conduct that delayed generic entry for each of the three drugs. My earlier analysis concluded
that the alleged generic foreclosure impacted all Class members through the same mechanism:
the absence of a generic alternatives. In reaching that conclusion, it is neither necessary nor
helpful to attempt a class member by class member estimate if each member’s overcharges.
Therefore, the concept of individualized overcharges is irrelevant to my assignment. Moreover,
the manufacturer sales data and the aggregate overcharges calculation that I have used are the
best means for quantifying class-wide overcharges. I have shown that common class-wide
evidence exists to establish that all or virtually all class members were injured.

8.         I understand that counsel for the Plaintiffs intend to show that individualized inquiry is
not warranted in this matter, despite Dr. Stangle’s assertions. Even if individualized inquiry were
warranted here, Dr. Stangle’s purported methodology to calculate overcharges separately for
each individual class member is technically flawed. He incorrectly claims that he has applied
my methodology for each customer, and he concludes that he has found that an individualized



11
     Stangle Report, ¶ 73.


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analysis shows that many class members had “zero” or “negative” overcharges.12 His
conclusions are incorrect for several reasons. First, I understand from counsel that as a legal
matter, a class member can be shown to have been impacted by the alleged conduct if at least
one transaction suffered an overcharge. Though I do not agree with Dr. Stangle’s calculations,
as I discuss in detail in the following paragraphs, many customers in his own summary exhibits
that he claims were not injured did, indeed, have at least one month of overcharges.




                                                       .13

9.           Second, Dr. Stangle misleadingly presents the customers with “zero” overcharges for
each of the overcharge categories, brand-brand, brand-generic and generic-generic. He asserts
that customers that are known to have only purchased the brand or only the generic have no
generic-generic overcharges or brand-brand overcharges, respectively. This observation,
however, does not suggest that my aggregate analysis might be overlooking customers with zero
overcharges. Of course brand-only customers would have no generic-generic overcharges, and
vice versa. Pointing this out is merely an attempt to mislead. For example, in his Exhibits 12A
and 12B, he indicates that Meijer had $0 overcharges for brand-brand and brand-generic
overcharges – this is because Meijer did not purchase brand-name Diovan, not because Meijer’s
purchases of the brand showed zero overcharges. Moreover, Meijer had generic-generic
overcharges of over $700,000, according to Dr. Stangle’s own calculations. Dr. Stangle
incorrectly suggests that class members need to have overcharges in each category of
overcharge, but this is simply not true. Despite Dr. Stangle’s attempt to include Meijer in his
false category of putative class members with zero overcharges, Dr. Stangle’s own methodology
indicates that Meijer was injured by the challenged conduct by virtue of positive generic-generic
overcharges.




12
     See Stangle Report, Exhibits 8A, 8B, 12A, 12B, and 16.
13
     Ibid.


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10.          Third, there are several false assertions in Dr. Stangle’s exhibits in which he color-codes
customers. He falsely asserts that “[c]ustomers highlighted in blue represent generic-only
purchasers that Dr. Rosenthal implicitly and wrongly assumes made brand purchases” and
“[c]ustomers highlighted in green represent brand-only purchasers that Dr. Rosenthal implicitly
and wrongly assumes made generic purchases.” Both assertions are incorrect. I did not assume
that these customers made brand or generic purchases where the data show they did not. All
customers are included in the aggregate purchase volumes calculated by my model, and the
yardsticks are applied to those aggregate totals, as described in my affirmative report. There is
no implicit assumption that the aggregate yardstick analysis requires each individual customer to
have been impacted in an identical fashion, just because injury occurred through a common
mechanism. Most importantly, my aggregate model shows that the Class in fact paid more for
the brand and/or generic products at issue than they would have absent the challenged conduct in
the but-for world.

11.          Fourth, Dr. Stangle’s calculations are in error. For example, many of the customers
mentioned in his exhibits are highlighted in yellow to indicate that, according to Dr. Stangle,
they “have $0 damages due to insufficient data to apply Dr. Rosenthal’s methodology.”14 In
reality, what this means is that Dr. Stangle failed to calculate but-for prices for the months in
which a customer actually made purchases. For example, in Diovan Scenario 1, Dr. Stangle
shows that                                  made actual purchases of generic Diovan between July
2014 and November 2014 (which it did). Dr. Stangle then appears to calculate
                 but-for generic prices that would have occurred from October 2012 to February
2013. When he “backcasts” the sales of generic product in this way, Dr. Stangle fails to
calculate the contemporaneous but-for prices for the months of actual purchases. Instead, he
claims that he does not have a but-for generic price to match up with
actual purchases made from July 2014 through November 2014. The yardstick approach,
however, requires that we also calculate but-for prices that                                , or any
generic purchaser, would have paid in the same calendar months as the actual purchases. Using
this approach, my model shows that if generic entry had occurred earlier, the prices
                     would have paid for the generic from July 2014 to November 2014 would have


14
     Ibid.


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been much lower than those it actually paid. In other words,                                            has
actual sales receipts showing purchases made on particular dates at particular prices, and my
overcharges model shows that those prices would have been lower absent the challenged
conduct. If Dr. Stangle had instead applied the generic price yardsticks in a comparable manner
to what I do in my overcharges model, he would have found a much lower but-for generic price
and substantial generic-generic overcharges. However, Dr. Stangle does not evaluate a but-for
price for                                   actual purchases at the time they occurred. Instead, he
appears to presume that                                       purchases would have occurred earlier in
the but-for world and since this customer only purchased the product for a few months, Dr.
Stangle’s but-for sales for this customer do not overlap in time with the actual purchases made.
Dr. Stangle repeats this error numerous times for both generic-generic and brand-brand
customers. As such, Dr. Stangle’s calculations and any conclusions drawn from them are
meaningless.

12.          In summary, I note that all or nearly all of the customers in Dr. Stangle’s flawed analysis
had either positive total overcharges, at least one month of overcharges across the three
overcharge categories (brand-brand, brand-generic and generic-generic), or suffered from the
analytical mistakes described above.15 Thus, even by Dr. Stangle’s own flawed calculations, all
or nearly all class members were impacted.


IV.          DR. STANGLE’S ADJUSTMENTS TO OVERCHARGES ARE INCORRECT AND MISLEADING

13.          Most of Dr. Stangle’s adjustments to my overcharge calculations are based on incomplete
or misleading analysis of the data. I address many of his assertions below. With only minor
exceptions, I find that none of Dr. Stangle’s arguments dictate any changes to my methodology.
In this section, I have also updated my Nexium models by using newly produced data (that Dr.
Stangle did not use) and excluded brand-only consumers from my Valcyte calculation, which has
a de minimis effect on Valcyte overcharges.16




15
     Ibid.
16
   See Attachments D and E to this declaration. For completeness, I have also included the Diovan calculations in
Attachment C to this declaration, even though those calculations have not changed since my affirmative report.


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14.       I understand from counsel that many of Dr. Stangle’s assertions rest on legal foundations
and are contrary to the assumptions I have been asked to make by counsel. I do not address Dr.
Stangle’s criticisms that are based on an assumption of law that conflicts with the assumption of
law that I have been provided by counsel. These include his arguments regarding generic
bypass,17 class members’ interrelationships and any incentives to pursue joinder,18 and his
position that overcharges should only be assessed on products that Ranbaxy actually sold.19 I
have been informed by counsel that, as a matter of law, it is not proper to account for generic
bypass. I have also been informed by counsel that, in class certification matters, courts treat
separately purchasers that are separate corporate entities that are separately billed by the
manufacturer. Furthermore, I have been informed that counsel intends to prove that Ranbaxy’s
alleged misconduct resulted in the delay of generic versions of Diovan, Nexium and Valcyte
regardless of the generic seller, and that as such they are of the view that under the law it is
necessary and proper to evaluate overcharges on direct sales made by all brand and generic
manufacturers of these products. Of course, if the Court in this matter rules differently under the
law in any of these respects, my model and approach can be adjusted to address that changed
circumstance.

15.       Dr. Stangle relies on other defendant experts to assert that the but-for scenarios I have
been asked to assume are incorrect and he suggests that, by not accepting his alternative
scenarios, my methodology somehow “does not isolate the economic effect of the conduct at
issue.”20 It is my understanding that Plaintiffs’ counsel intend to adduce substantial evidence
from which the jury may find the but-for scenarios I have been asked to assume. Under this
assumption, my overcharge calculations do indeed “isolate the economic effect of the conduct at
issue” using common proof. I do not address defendants’ but-for world assumptions because
they are outside the scope of my assignment. Furthermore, my overcharges methodology can
readily accommodate any alternative but-for world assumptions that are determined by the jury.




17
     See Stangle Report, ¶¶ 58-62.
18
     Stangle Report, Appendix C, ¶¶ 34-44.
19
     See Stangle Report, ¶¶ 131-134.
20
     Stangle Report, ¶¶ 67-71.


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          A.   Dr. Stangle’s “Baseline Corrections” Are Either Incorrect or Have a De
          Minimis Effect on Overcharges

                   1.    Dr. Stangle’s “Baseline Correction” #1, Using WAC Prices, Is Incorrect
16.       Dr. Stangle argues that one should use a list price known as wholesale acquisition cost
(“WAC”) instead of the actual net prices faced by direct purchasers that I use when assessing
overcharges due to the challenged conduct. He argues that generic manufacturers state that they
set their prices by looking at brand manufacturer WAC prices before generic launch. He argues
further that generic manufacturers are not aware of branded discounting since such discounts are
proprietary and secret.21

17.       The use of a list price when modeling direct purchaser overcharges in this matter is
improper because it does not reflect the actual prices paid by the DPPs. The proper economic
methodology is to evaluate prices net of all discounts and adjustments in order to determine the
net effect of the challenged conduct. It is widely understood that brand name drug manufacturers
discount below their list prices and a generic manufacturer that ignored those discounts when
setting their own price would not maximize profits. In particular, generic prices would be too
high relative to the profit-maximizing price.

18.       Further, Dr. Stangle’s suggestion that generic manufacturers are blind to the brand
manufacturer’s strategies and pricing is naïve and ignores the fact that generic manufacturers
forecast and model brand prices.22 As such, generic manufacturer discounting follows from the
awareness of brand net prices. In my experience, generic manufacturers routinely obtain
publicly available IQVIA National Sales Perspective (“NSP”) data which show a substantial part
of the branded discounts relevant to a generic manufacturer’s direct customers. The generic
manufacturer forecasts in this case indeed reveal the use of IQVIA data.23

19.       Finally, while I disagree on principle that WAC is the appropriate pricing benchmark for
my yardsticks, it is important to note that Dr. Stangle’s use of WAC makes very little difference
to overcharges. Including his WAC adjustment and his inclusion of non-direct purchaser returns

21
     Stangle Report, ¶¶ 125-126 and footnote 182.
22
  See, for examples, SUN_00544321, SUN_02689563, SUN_00544337, TORRENT049673, sheet “Valsartan,”
and DRL-Valganciclovir-Supp-000001, sheets “Valganciclovir_bestcase,” and “Valganciclovir-base.”
23
  See, for examples, the generic manufacturer forecasting documents which include IQVIA (previously known as
IMS) data: SUN_00544321, SUN_02689563, SUN_00544337, and Lupin-Meijer000605-655, at 605.


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decreases overcharges only between 2.2% and 2.7% across Diovan Scenarios 1 and 2, Nexium
Scenario 2, and Valcyte.

                    2.   Dr. Stangle’s “Baseline Correction” #2, Excluding Valcyte Purchasers
                         that Were Excluded in My Errata, Has a De Minimis Effect on
                         Overcharges
20.        In my errata, I excluded from my list of customers24 direct purchasers of branded Valcyte
who, apparently, have not purchased the generic because brand-only purchasers have been
explicitly excluded from the Class definition. Dr. Stangle states that these customers should also
have been removed from my overcharges model.25 While my original calculations make the
reasonable assumption that brand-only customers’ volume is encompassed in the but-for brand
volume, one could take Dr. Stangle’s approach and exclude these customers from the actual sales
volume in my model. This alternative leads to a de minimis reduction in overcharges; following
this approach, I have updated my overcharges calculation for Valcyte. Direct purchaser
overcharges for Valcyte after having made this change are now $125.8 million, a reduction of
0.3% from my previous calculation.26

                    3.   Dr. Stangle’s “Baseline Correction” #3, Accounting for Returns by Non-
                         Direct Purchasers, Is Incorrect and Has a De Minimis Effect on
                         Overcharges
21.        Dr. Stangle asserts that it is “is logically incorrect to assign damages to returned units
even if those returns did not flow through a direct purchaser but instead were returned directly to
the manufacturer by an entity that originally purchased the product indirectly through a
wholesaler or distributor.”27 My understanding from counsel is that transactions relating to non-
class members should not be accounted for in my overcharges calculations.28 Regardless, taking
account of non-class member return quantities as Dr. Stangle suggests has a de minimis effect on
overcharges with reductions of a mere fraction of a percent. Diovan Scenarios 1 and 2


24
  Errata for Declaration of Meredith Rosenthal in Support of Certification of the Class of Direct Purchasers of
Diovan, Nexium and Valcyte, In Re Ranbaxy Generic Drug Application Antitrust Litigation, MDL No. 19-md-2878-
NMG, January 13, 2021, Attachment F.4.
25
     Stangle Report, ¶ 127.
26
     See the revised Attachment E to this declaration.
27
     Stangle Report, ¶ 128.
28
  Note that I have already accounted for all returns related to class members who purchased directly from the
manufacturers.


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overcharges would be reduced by only 0.0002%; Nexium Scenario 1 overcharges would be
reduced by only 0.00008%; Nexium Scenario 2 overcharges would be reduced by only 0.004%;
and Valcyte would not change since there are no additional returns in the data to include.29

                   4.    Dr. Stangle’s “Baseline Correction” #4, Using Different Nexium Sales
                         Data, Disregards More Recent Data Productions and Therefore Are
                         Incorrect
22.        Dr. Stangle asserts that “for Nexium, without justification, Dr. Rosenthal ignores
AstraZeneca’s data on actual 2015 brand prices and instead interpolates prices between
December 2014 and January 2016. I replace Dr. Rosenthal’s interpolated 2015 brand prices with
actual monthly brand prices and apply Dr. Rosenthal’s method to estimate but-for Nexium brand
prices based on the actual monthly brand prices in 2015.”30 My decision to do this was not
without justification, as Dr. Stangle states. As noted in my report, I determined that the Nexium
sales data for 2015 were missing relevant discounts, adjustments and chargebacks.31 As such, I
used an alternative source and a linear interpolation to model Nexium net prices. AstraZeneca
subsequently produced more complete data after my original report was filed. These new data
show direct sales, discounts, adjustments and chargebacks for the entire relevant time period.32
Dr. Stangle ignored these new data and in so doing has ignored important discounts and
chargebacks by using the data I initially discarded. Dr. Stangle’s fourth “baseline correction” is
thus incorrect and inferior to using the new data.

23.        I now use these new Nexium data to update my overcharges calculations. This means that
the methods I used previously to estimate prices are no longer necessary since I now have the
relevant raw data.33 Nexium Scenario 1 overcharges are now $1.097 billion (a reduction of
10.5%). As for Nexium Scenario 2, the additional Nexium sales data has revealed that there are

29
   See my work papers. The additional return quantities are incorporated in the calculation of generic market share
yardsticks and in the quantities included in the calculation of overcharges.
30
     Stangle Report, ¶ 129.
31
     Rosenthal Report, footnote 141.
32
  The newly produced AstraZeneca data are AZNONPARTY_002560, AZNONPARTY_002565,
AZNONPARTY_002566, and AZNONPARTY_002569.
33
   However, there is one adjustment that still needs to be made with the new data. The new chargeback data in 2015
are organized on a quarterly basis. This means that Q1 2015 includes both pre- and post-generic launch brand
pricing. Since brand discounting increased substantially right after actual generic launch, the 1Q 2015 chargeback
data are not suitable for inclusion in the calculation of a pre-generic launch brand price. As such, my model uses
December 2014 as the pre-generic launch brand price.


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positive brand-brand overcharges until December 2015. Thereafter, the but-for brand price is
above the actual brand price. As such, to be conservative, all overcharges (brand-generic,
generic-generic and brand-brand) are now set to end as of December 2015. Using the new data
and this new end point, Nexium Scenario 2 overcharges are $3.856 billion (a reduction of 7.7%).
Furthermore, due to the new Nexium sales data and since the time frame has changed for
Nexium Scenario 2, I have updated the class member lists in Attachments F.2 and F.3 for
Nexium Scenarios 1 and 2 respectively. There are now 51 class members for Nexium Scenario 1
and 91 class members for Nexium Scenario 2.34

           B. Dr. Stangle’s Overcharges End Dates Are Based on Incorrect Logic and Are
              Incorrect

24.        Dr. Stangle states that all brand-generic overcharges should end as of the time of actual
generic entry because, according to him, direct purchasers were no longer “precluded from
purchasing the generic” and he apparently believes that any lagging of generic purchases after
that date reflects a preference for the brand.35 Dr. Stangle is incorrect. The fact that direct
purchasers do not shift immediately to generic purchasing does not reflect a preference for the
brand. It reflects the normal process by which generic penetration occurs, influenced by the
supply chain frictions and other factors. It is simply common sense that generic sales volume
does not instantaneously reach the ultimate steady state market share of 90-95%. It takes time
for warehouses to be stocked and for purchasing patterns to shift. My overcharges model takes
account of this by using actual time patterns of generic substitution; ending brand-generic
overcharges as of the time of actual generic entry is unwarranted and factually incorrect.

25.        Dr. Stangle also incorrectly claims that Valcyte generic-generic overcharges should end
as of the moment when there are 2 generic manufacturers in both the actual and but-for world.
He claims that: “With the same number of generic competitors marketing generic versions of
Valcyte in the actual and but-for worlds, there is no basis to assume that the delay in generic
entry would result in different generic prices, and therefore no basis for continuing generic-




34
  Note that in my previous versions of Attachments F.2 and F.3, the customer DDNC was inadvertently included
and is now excluded since it is a governmental entity.
35
     Stangle Report, ¶ 135.


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generic damages.”36 This assertion is false, reflects a lack of understanding of generic
competition, and contradicts the economic evidence. While it may be reasonable to assume that
the percentage price discount is the same where one has 2 generic manufacturers in both the
actual and but-for worlds, this does not mean that the price levels ought to be the same. As I
explained in my affirmative report, the pricing yardsticks are applied at points in time with
different net prices. A lower starting net price in the but-for world would yield lower generic
prices than in the actual world even if there eventually are the same number of generic
manufacturers in both worlds.

26.        Dr. Stangle makes the same argument for Nexium Scenario 2 generic-generic
overcharges. He claims that as of September 2015, there would be comparable numbers of
generic manufacturers in the actual and but-for worlds (four and five, respectively) and therefore
actual and but-for generic prices would be equal.37 He bases this assertion on a
misunderstanding of published research.38 Though it may be true that, as the research states, the
marginal effect of additional generic manufacturers coming to market after the fourth or fifth is
“negligible,” that does not mean actual and but-for prices would be the same. The negligible
effect is with respect to a given, single price series and says nothing about a comparison across
price series, such as a comparison between an actual price series and a but-for price series where
generic launch occurred earlier and with respect to a relatively lower brand price. What Dr.
Stangle seems not to understand is that though the actual pricing trends may be similar to the
but-for pricing trends with comparable numbers of generic manufacturers, the price levels may
not be. Again, a given generic price decline percentage applied against a relatively lower, earlier
brand price will yield lower generic prices compared to what would occur if that same generic
price decline percentage were applied to a later, higher brand price. And this assumes that the
same number of generic entrants yields the same generic price decline percentages, which is not
always true when observing the actual data. This fact can be seen in my overcharges analysis. In
September 2015 for Nexium Scenario 2, where Dr. Stangle says overcharges should be
terminated, the actual price decline yardstick is -35.2% and the but-for price decline yardstick is

36
     Stangle Report, ¶ 136.
37
     Stangle Report, ¶ 137.
38
  E.R. Berndt, et al., “Authorized Generic Drugs, Price Competition, and Consumers’ Welfare,” Health Affairs,
26(3), May 2007, pp. 790–799, at p. 792.


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          C. Dr. Stangle Is Incorrect Where He Asserts that I Combine Brand Purchasers
             with Generic Purchasers

27.       Dr. Stangle observes that some class members only purchased the brand, some only
purchased the generic, and those that purchased both tend to have varying generic substitution
rates. He erroneously asserts that I apply my average yardstick uniformly to each and every
distinct class member. He attempts to illustrate this issue by calculating overcharges separately
for brand-only class members, generic-only class members, and he recalculates the yardstick for
brand-generic class members by only focusing on those class members.42

28.       Dr. Stangle’s analysis is incorrect for two reasons. First, he misstates my opinions. It is
not true that I have stated that my yardsticks ought to be applied equally to all individual class
members. What I have done is applied my aggregate analysis and aggregate yardsticks to the
entire class using common evidence. It is not my opinion that any particular brand-only class
member would have purchased generics in the but-for world if there is no evidence of them
having done so in the actual world. Overcharges for such customers are within the brand-brand
overcharges in my calculations. The same is true for customers that only purchased the generic –
they are included in the generic-generic overcharges in my calculations.

29.       Second, to suggest that brand-generic overcharges should be evaluated using only data
for customers that have purchased both the brand and generic is incorrect in an aggregate
overcharges calculation and is, in fact, an attempt to bring in generic bypass. The reason why
customers, like wholesalers, have a lower generic substitution rates is because some of the
generic units are actually purchased by generic-only purchasers like retailers. As stated above, I
have been informed by counsel that it is not the legal standard to disregard in the calculation of
direct purchaser overcharges units actually purchased simply because of generic bypass. Dr.
Stangle does just that with this so-called “correction” and therefore it should be disregarded.




42
     Stangle Report, ¶¶ 139-143.


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          D. Dr. Stangle Is Misleading when He Asserts that Overcharges Based on Brand
             Purchases Are Unjustified

30.       Dr. Stangle incorrectly asserts that overcharges on brand purchases are “unjustified” and
he excludes brand-brand overcharges as well as brand-generic overcharges. His justifications
appear to be the following: that “Plaintiffs’ expert Dr. McGuire claims that brand drugs are not
part of the relevant markets in this case”; “academic research supports the claim that brand-brand
damages are based on temporary brand discounts”; and Dr. Conti has not calculated brand-brand
damages for Nexium.43 As I explain below, all of Dr. Stangle’s assertions are incorrect. Note
that this category accounts for the single largest “correction” Dr. Stangle proposes for my
overcharges calculations.

31.       Dr. Stangle misrepresents Dr. McGuire’s testimony. I understand that Dr. McGuire
opines that the brand manufacturers did in fact have market power over the respective brands
pre-generic entry, and that “evidence of Ranbaxy’s market power is rooted in evidence that
Ranbaxy (a) excluded competitors, and (b) caused the Diovan, Nexium and Valcyte molecules to
be sold at prices above levels that would have prevailed under competition.”44 It is my
understanding that counsel intend to prove that Ranbaxy’s conduct caused overcharges on brand
purchases by the Class. Indeed, my overcharge models show that class members were
overcharged on brand purchases due to the delay in generic entry, and this is consistent with the
literature and real word experience.

32.       As for the academic research, though it may be true that some brand discounts are
temporary, proper methodology demands that we look at each drug separately. Rather than using
a generalization from the academic research, I have allowed the data for each drug to tell me
whether there were any brand discounts, and how persistent those discounts were. I found that
there was indeed brand discounting for Diovan and Nexium, and I did not find brand discounting
for Valcyte; I conducted my overcharges analysis accordingly. Even if Dr. Stangle is correct and
brand discounts for Diovan and Nexium were “temporary,” those discounts would still have




43
     Stangle Report, ¶¶ 121-122 and 144.
44
 Expert Report of Professor Thomas G. McGuire, In Re Ranbaxy Generic Drug Application Antitrust Litigation,
MDL No. 19-md-2878-NMG, November 2, 2020, ¶¶ 150 and 172-176.


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come into play in the but-for world and brand purchasers would have suffered overcharges
during the “temporary” period of time.

33.        Finally, Dr. Stangle appears to be confused regarding Dr. Conti’s damages. I understand
that Dr. Conti, when calculating end-payor damages, did not evaluate brand-brand damages for
the drugs at issue because the prices relevant for end-payors, i.e. prices at retail, do not reveal
lower prices following generic entry. These are not the same prices paid by direct purchasers,
and therefore Dr. Stangle’s statement that my overcharges calculations are “inconsistent” is
simply false. Just as it is inappropriate to consider end-payor rebates for a direct purchaser
analysis (as I discuss in the paragraph below), it is also inappropriate to consider end-payor
prices. Direct purchasers face neither and, therefore, their consideration in an overcharges
calculation is economically incorrect. Direct purchaser prices are typically based on WAC as a
starting point, and involve additional discounts negotiated between the manufacturer and the
direct purchasers. End payor prices are typically evaluated based on a discount off of AWP or an
increase over WAC and are negotiated between the TPP or PBM and the retailer. Since direct
purchasers and end payors face different prices at different levels of the supply chain, with
different types of rebates and discounts, considering them to be the same as Dr. Stangle does is
comparing apples and oranges and is inappropriate as a matter of economics.

           E. It Is Incorrect to Consider End-Payor Rebates in a Direct Purchaser
              Overcharges Calculation

34.        Dr. Stangle notes that I have assessed overcharges to direct purchasers based on the
“payment flows [I believe] are associated with direct purchasers of the products at issue” but
claims that I made a “fundamental error” by not including rebates paid by Novartis and
AstraZeneca to “PBMs, third party payors and government entities.”45 He then appears to state
that it is necessary to “assess pass-on” and to consider “deterrence.” I understand from counsel
that these are legal issues and I do not comment on them here. As part of this argument,
however, Dr. Stangle states that I “ignored” the rebates paid to end-payors and governmental
entities and seems to imply that these rebates should be considered in the calculation of direct
purchaser overcharges.46 As a matter of economics, it is incorrect to consider rebates paid to

45
     Stangle Report, ¶¶ 75, 80.
46
     Stangle Report, ¶¶ 38, 75-81.


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end-payors when calculating overcharges faced by direct purchasers. Direct purchasers never
receive any of the rebate dollars paid to “PBMs, third party payors and government entities” that
Dr. Stangle references. As such, it is entirely in error to consider such rebates in a calculation of
direct purchaser overcharges. I did not “ignore” these rebates. I appropriately considered them
and deemed them inappropriate for an analysis of direct purchaser overcharges.

          F.    Other Errors in Dr. Stangle’s Overcharges Arguments

35.       Dr. Stangle mentions a handful of additional technical “corrections” that are incorrect.
For instance, Dr. Stangle notes that I take a rolling average of three months when I calculate
generic Diovan prices in the actual world. He asserts that instead I should have used the entire
seven months from June 2014 to December 2014, and he adjusts overcharges accordingly. He
claims that this “accounts for the timing mismatches between sales and subsequent credits.”47
However, by taking a longer time window for the moving average, Dr. Stangle has included the
early, lower discounting with the later, higher discounting in generic prices. In my opinion, it is
better to track a narrower window so that generic prices match with the current level of
discounting as generic competition evolves. In my opinion, a three-month window is more
appropriate because of the rapid changes in the competitive landscape. It is more important to
track the level of generic discounting rather than address the potential “mismatch between sales
and subsequent credits.” Therefore, I believe Dr. Stangle’s adjustment in this instance is
overbroad and I do not adjust my overcharges calculations as he suggests.

36.       Dr. Stangle incorrectly states that “[i]n certain months of her damages period, Dr.
Rosenthal inappropriately calculates damages on more units than were actually purchased by
members of the proposed Nexium and Valcyte classes, causing her to overstate damages.”48 For
Nexium Scenario 1, using the updated data recently produced by AstraZeneca, this is not true. In
months where there are more generic units in the but-for world than in the actual world
(February and March 2015), I evaluate no brand-generic overcharges because the model suggests
that there is no foreclosure of generic units in those months. Instead, I only evaluate overcharges
on actual generic units purchased, since those units would have been available at a lower price in

47
  Stangle Report, ¶ 146. Note that this adjustment to overcharges made by Dr. Stangle accounts for a decrease in
overcharges of only 10.7%.
48
     Stangle Report, ¶¶ 151-153.


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the but-for world. Thus, I do not calculate overcharges on more units than were actual sold; I
only evaluate overcharges on the actual generic units sold. It would be improper to evaluate
negative brand-generic overcharges merely because fewer generic units were purchased in the
but-for world than the actual world. Furthermore, I understand from counsel that as a legal
matter defendants are not entitled to such an offset to overcharges due to the challenged conduct.
For Nexium Scenario 2, all of the preceding arguments are still true, but Dr. Stangle is correct
that there is one additional correction that needs to be made for brand-brand overcharges. In a
single month (February 2015), where the but-for brand units exceed the actual brand units, I have
ensured that the model evaluates overcharges only on the actual units purchased.49 Note that this
category of Dr. Stangle’s is not a concern for Valcyte at all, since there are no brand-brand
overcharges for Valcyte and otherwise I only calculate overcharges on actual generic units sold
in months where brand-generic overcharges are set to zero. Also note that this issue does not
arise at all for the Diovan Scenarios. Overall, Dr. Stangle’s concerns here are either no longer
relevant due to the use of the recently produced Nexium data, or are incorrect in terms of the
assertion of evaluating negative brand-generic overcharges.

37.       Dr. Stangle argues that I should have allowed for negative generic-generic overcharges
for Valcyte in months where the generic but-for price was greater than the actual generic price.50
I understand from counsel that the defendants are not entitled to overcharges offsets in this way.
Regardless, this adjustment for negative generic-generic overcharges accounts for a decrease in
total overcharges of only 5.1%.


V.       CONCLUSIONS

38.       I have shown that class-wide overcharges can be calculated using common proof and do
not require individualized inquiry. I find that Dr. Stangle’s incorrect arguments and invalid
analyses do not controvert the methodology put forward in my affirmative report where I used
common proof to show that the but-for prices were substantially below the actual prices paid by

49
   In my affirmative report, this adjustment was inadvertently not made in the Nexium Scenarios. With the updated
data, it is only relevant for a single month in Nexium Scenario 2, which is February 2015. All other months with
zero brand-brand damages in the Nexium Scenarios are due to instances where the but-for brand price is higher than
the actual brand price. Again, I have been informed by counsel that there is a legal argument that defendants are not
entitled to overcharges offsets in this way.
50
     Stangle Report, ¶¶ 154-155.


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the Class, leading to significant aggregate overcharges. Due to the dramatic differences in the
actual and but-for prices faced by the class members, all or nearly all were injured by the alleged
conduct. Though Dr. Stangle points to pricing variation, which occurs in all markets, his flawed
analysis fails to show that this variation means that individual class members did not sustain
overcharges due to the challenged conduct.

39.     I find that overcharges remain substantial: $3.161 billion to $3.279 billion for Diovan and
valsartan, $1.097 billion to $3.856 billion for Nexium and esomeprazole magnesium, and $125.8
million for Valcyte and valganciclovir.51




_____________________________________
Meredith Rosenthal
March 22, 2021




51
   The new overcharge totals take into account the new Nexium sales data and the exclusion of brand-only Valcyte
customers, as described above.


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                                       Attachment A




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                                     CURRICULUM VITAE

                                                                      Date: February, 2021

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                      meredith_rosenthal@harvard.edu

BIRTHPLACE:           Boston, Massachusetts

EDUCATION:
1998           Health Policy (Economics track), Ph.D., Harvard University
1990           International Relations (Commerce), A.B., Brown University

ACADEMIC APPOINTMENTS:
2011-present   C. Boyden Gray Professor of Health Economics and Policy
               Department of Health Policy and Management
               Harvard School of Public Health
2006-2011      Associate Professor of Health Economics and Policy
               Department of Health Policy and Management
               Harvard School of Public Health
1998-2006      Assistant Professor of Health Economics and Policy
               Department of Health Policy and Management
               Harvard School of Public Health

ADMINISTRATIVE APPOINTMENTS:
2017-2018      Senior Associate Dean for Academic Affairs
               Harvard T. H. Chan School of Public Health
2013-2017      Associate Dean for Diversity
               Harvard T. H. Chan School of Public Health

PROFESSIONAL SOCIETIES:
2014-present Elected Member, National Academy of Medicine (Institute of Medicine)
2004-present American Society of Health Economists
2000-present International Health Economics Association
1995-present AcademyHealth
             Planning Committee for 2008 Annual Research Meeting

OTHER PROFESSIONAL EXPERIENCE:
1996-present   Academic Affiliate, Greylock McKinnon Associates

1993-1994      Analyst, Health Economics Research, Inc./The Center for Health Economics Research

1990-1993      Consultant, Price Waterhouse, Tax Economics Department



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SERVICE:
2016-present   Member, Massachusetts Center for Health Information and Analysis Oversight Council

2013-2017      Board Chair, Massachusetts Health Quality Partners

2007-2016      Member, Massachusetts Public Health Council

2005           Expert Testimony, House Committee on Education and Workforce, House Subcommittee
               on Employer-Employee Relations, Hearing on Examining Pay-for-Performance Measures
               and Other Trends in Employer-Sponsored Health Care

2003           Expert Testimony, Senate Special Committee on Aging, Hearing on
               Direct to Consumer Advertising of Prescription Drugs: Exploring the Consequences

2001           Chair, Massachusetts Special Commission on Physician Compensation

HONORS AND DISTINCTIONS:
2016           AcademyHealth Paper of the Year Award

2016           Harvard TH Chan School of Public Health Student Mentoring Award

2015           Harvard TH Chan School of Public Health Advancement of Women Faculty
               Mentoring Award

2014           Harvard School of Public Health Junior Faculty Mentoring Award

2011           Harvard School of Public Health Teaching Citation

2010           Academy of Management Best Theory to Practice Paper in Health Care Management

2006           Alfred P. Sloan Foundation Industry Studies Fellowship

2003           Labelle Lectureship in Health Policy, McMaster University

MAJOR ADMINISTRATIVE RESPONSIBILITIES:
2016-2018      University President’s Task Force on Inclusion and Belonging

2012-2014      Harvard School of Public Health Faculty Council, Vice-Chair (2012)

2007-2014      Harvard School of Public Health Committee on Admissions and Degrees, Chair (2010)

2007           Co-Chair, Harvard School of Public Health Child Care Task Force

2006-2011      Harvard School of Public Health Committee on the Concerns of Women Faculty

2000-present   Executive Committee on Higher Degrees in Health Policy, Harvard University

1999-present   Admissions Committee, Ph.D. Program in Health Policy, Harvard University




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EDITORIAL ACTIVITIES:
1997-present    Referee: Journal of Health Economics, Inquiry, Health Services Research, Health
                Affairs, Journal of the American Medical Association, New England Journal of Medicine,
                and others

2012-2015       Member, New England Journal of Medicine, Perspective Advisory Board

2008-2014       Associate Editor, Medical Care, Research and Review

1997-1998       Assistant Editor, Evidence-based Health Policy and Management


MAJOR RESEARCH INTERESTS:
          1. Market-oriented health policy
                2. Physician payment incentives
                3. Consumerism and consumer-directed health plans
                4. Economics of the pharmaceutical industry
RESEARCH SUPPORT:
Past Funding:
2016-2018       Generic Drug Pricing: Actionable Research for Policy, Commonwealth Fund, Principal
                Investigator

2015-2017       Improving the Value of Health Care Choices, Arnold Foundation, Principal Investigator

2012-2017       Optimizing Ambulatory Patient Safety in Partnership with Primary Care Transformation,
                HMS Gift/CRICO, Co-Principal Investigator

2016-2017       Physician Payment in ACOs, Arnold Foundation, Principal Investigator


2013-2015       Understanding the Use and Impact of Price Data in Health Care, RWJF, Co- Investigator

2013-2015       Impact of Price Transparency Tools on Consumer Behavior, RWJF, Co- Investigator

2013-2015       Getting the Complete Picture: What Does the Body of Research on the Patient-Centered
                Medical Home Really Tell Us? CMWF, Principal Investigator

2013-2015       Prevalence and Variation in Over-Use of Health Services in Commercially Insured
                Patients, Peter G. Peterson Foundation, Principal Investigator

2013-2015       Measuring Overuse of Health Care: Are Providers and Patients ‘Choosing Wisely’?,
                CMWF, Co-investigator

2013-2014       Prevalence and Variation in Over-Use of Health Services in Medicare: Choosing Wisely,
                RWJF, Co-investigator

2012-2015       Evaluating Sequential Strategies to Reduce Readmission in Diverse Populations, AHRQ,
                Co-investigator

2010-2014       Factors Associated with Effective Implementation of a Surgical Safety Checklist, AHRQ
                (R18), Co-investigator

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2010-2014     A Randomized Trial of Behavioral Economic Interventions to Reduce CVD Risk, NIA
              (RC4), Co-investigator

2008-2010      Rewarding Quality Diabetes Management, RWJF/Hudson Health Plan,
       Principal Investigator

2008-2009     Effects of High-Deductible Health Plans on Families with Chronic Conditions,
              RWJF/Harvard Pilgrim Healthcare Plan, Co-Investigator

2008-2008     Implications of Value-Based Purchasing for Health Disparities: A Synthesis of the
              Evidence, Office of Minority Health, Department of Health & Human Services, Principal
              Investigator

2008-2008     Payment Reform Opportunities for Medicaid Programs, University of Pittsburgh,
              Principal Investigator

2007-2009     Changes in Health Care Financing and Organization: How does Fragmentation of Care
              Contribute to the Costs of Care? RWJF/HCFO, Co-investigator

2006-2008     Evaluating the Impact of a Novel Pay for Performance Program in a Medicaid Managed
              Care Plan, The Commonwealth Fund, Principal Investigator

2006-2008     Sloan Industry Studies Fellowship for Meredith Rosenthal, Alfred P. Sloan Foundation,
              Principal Investigator

2005-2008     Incentive Formularies and the Costs and Quality of Care, Agency for Healthcare
              Research and Quality, Co-investigator

2005-2007     Strategies to Improve the Value of Health Benefit Spending for Low-Wage Workers, The
              Commonwealth Fund, Principal Investigator

2005–2007     Uptake and Impact of Health Risk Appraisals, RWJ Health Care Financing and
              Organization Initiative, Principal Investigator

2003-2007     The Patterns and Impact of Value Based Purchasing, Agency for Healthcare Research
              and Quality, Co-investigator

2002-2007     Coverage, Organization of Care, and Colorectal Screening,      National Institutes of
              Health, Co-investigator




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Current Funding
2015-2020       Accelerating the Use of Evidence-based Innovations in Healthcare Systems, AHRQ,
                Principal Investigator

2016-2021       Identifying Cascades of Low-Value Care and the Organizational Practices that Prevent
                Them, AHRQ, Co-Investigator

2019-2021       Price, Spending and Utilization Impacts of Vertical Integration in Massachusetts, Laura
                and John Arnold Foundation

TEACHING EXPERIENCE

2016-present    Health Policy and Management 260: Health Economics with Applications to Global
                Health Policy

2003-present    Health Policy and Management 209: Economics for Health Policy

2013-2014       Global Health and Health Policy 50 (Harvard College): The Quality of Care in the United
                States

1999-2001       Health Policy and Management 507: Mental Health Economics and Policy in the United
                States

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           management companies: Adding value to behavioral health care? Psychiatric Services. 1999
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   2.      Rosenthal MB. Risk sharing in managed behavioral health care. Health Affairs. 1999 Sept-
           Oct;18(5):204-13.
   3.      Huskamp HA, Rosenthal MB, Frank RG, Newhouse JP. The Medicare prescription drug
           benefit: How will the game be played? Health Affairs. 2000 Mar-Apr;19(2):8-23.
   4.      Rosenthal MB. Risk sharing and the supply of mental health services. Journal of Health
           Economics. 2000 Nov;19(6):1047-65.
   5.      Cutler DM, Epstein AM, Frank RG, Hartman RS, King C, Newhouse JP, Rosenthal MB,
           Vigdor ER. How good a deal was the tobacco settlement?: Assessing payments to
           Massachusetts. Journal of Risk and Uncertainty. 2000;21(2/3):235-61.
   6.      Rosenthal MB, Frank RG, Buchanan JL, Epstein AM. Scale and structure of capitated
           physician organizations in California. Health Affairs. 2001 Jul-Aug;20(4):109-19.
   7.      Rosenthal MB, Landon BE, Huskamp HA. Managed care and market power: Physician
           organizations in four markets. Health Affairs. 2001 Sept-Oct;20(5):187-93.
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                                      Meredith Rosenthal
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In re Celebrex (Celecoxib) Antitrust Litigation, Lead Case No. 2:14-cv-361
In re EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices & Antitrust Litigation,
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District of Rhode Island, MDL No. 2472, C.A. No. 1:13-md-2472-S-PAS.
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District of Ohio, Eastern Division, MDL No. 2804, Case No. 17-md-2804
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Illinois, Eastern Division, MDL No. 2580
In re Ranbaxy Generic Drug Application Antitrust Litigation, United States District Court for the
District of Massachusetts, MDL No. 19-md-2878-NMG
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the District of Massachusetts, MDL No. 2503 1:14-MD-2503-DJC
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Virginia, Case No. 18-md-2836
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District of Massachusetts, Case No. 09-MD-2067 (NMG); MDL No. 2067
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Pennsylvania, MDL No. 2:13-md-2460
The State of Texas, ex rel. Allison Zayas and Tracy Miksell-Branch v. AstraZeneca, L.P., and
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Texas, Cause No. D-1-GN-13-003530



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rel Xavier Becerra vs. Sutter Health, Superior Court of the State of California for the City and
County of San Francisco, Case No. CGC 14-538451 consolidated with CGC-18-565398
United States of America and the State of North Carolina v. The Charlotte Mecklenburg Hospital
Authority, United States District Court for the Western District of North Carolina, Charlotte
Division, Case No 3:26-cv-00311-RJC-DCK
United States of America ex rel. Kevin N. Colquitt vs. Abbott Laboratories, United States District
Court for the Northern District of Texas, Dallas Division, Civil Action No. 3:06-cv-01769-M
United States of America ex rel. Yoash Gohil v. Sanofi-Aventis U.S. Inc., et al., United States
District Court for the Eastern District of Pennsylvania, No. 2-c-2964
United States of America, ex rel. Wendy A. Bahnsen et al., v. Boston Scientific Neuromodulation
Corporation, United States District Court for the District of New Jersey, Docket No. 11-cv-
1210-(JMV) (SCM)
State of New Hampshire v. Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-
Janssen Pharmaceuticals Inc., et al., Merrimack Superior Court, Docket No. 217-2018-CV-
00678




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                                       Attachment B




REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                  HIGHLY CONFIDENTIAL
RANBAXY DIRECT PURCHASER LITIGATION
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                      Attachment B: Additional Materials Relied Upon



Bates Documents
DRL-Valganciclovir-Supp-000001
Lupin-Meijer000605-655
SUN_00544321
SUN_00544337
SUN_02689563
TORRENT049673


Expert Reports
Declaration of Meredith Rosenthal in Support of the Certification of the Class of Direct
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Errata for Declaration of Meredith Rosenthal in Support of Certification of the Class of Direct
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Expert Report of Bruce E. Stangle, Ph.D., In Re Ranbaxy Generic Drug Application Antitrust
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Electronic Data
AstraZeneca Nexium Sales Data:
       AZNONPARTY_002560
       AZNONPARTY_002565

REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                                    HIGHLY CONFIDENTIAL
RANBAXY DIRECT PURCHASER LITIGATION                                           ATTACHMENT B PAGE 1
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       AZNONPARTY_002566
       AZNONPARTY_002569




REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                 HIGHLY CONFIDENTIAL
RANBAXY DIRECT PURCHASER LITIGATION                        ATTACHMENT B PAGE 2
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                                       Attachment C




REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                  HIGHLY CONFIDENTIAL
RANBAXY DIRECT PURCHASER LITIGATION
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Attachment C.1: Diovan and Valsartan Manufacturer Sales Data
           1               2               3             4             5             6           7
                       Diovan                                              Valsartan
                                         Average                                  Average 3-Month Moving
                                        Price per                                Price per Average Price per
Month          Sales            Pills         Pill         Sales          Pills        Pill              Pill
                                                      $2,446,735   35,571,350        $0.07             $0.08
                                                       $281,739    40,606,689        $0.01             $0.10
                                                      $4,247,551   36,218,311        $0.12             $0.06
                                                      $4,130,873   38,315,635        $0.11             $0.08
                                                      $1,706,991   43,417,251        $0.04             $0.09
                                                     $11,086,214   51,575,914        $0.21             $0.13
                                                      $9,394,022   46,329,710        $0.20             $0.16
                                                      $4,415,053   39,558,651        $0.11             $0.18
                                                      $4,672,464   48,379,239        $0.10             $0.14
                                                      $4,337,739   42,277,921        $0.10             $0.10
                                                     -$2,714,005   41,193,350       -$0.07             $0.05
                                                      $3,187,534   42,869,849        $0.07             $0.04
                                                      $5,792,368   45,519,483        $0.13             $0.05
                                                        -$43,537   47,350,528        $0.00             $0.07
                                                      $3,143,381   45,564,629        $0.07             $0.06
                                                      $3,928,868   44,923,946        $0.09             $0.05
                                                      $1,887,431   49,651,616        $0.04             $0.06
                                                      $5,461,013   48,903,684        $0.11             $0.08
                                                      $3,872,969   49,308,268        $0.08             $0.08
                                                      $2,011,705   42,277,367        $0.05             $0.08
                                                      $5,540,571   52,492,373        $0.11             $0.08
                                                      $2,973,322   36,480,232        $0.08             $0.08
                                                      $1,054,210   39,444,282        $0.03             $0.07
2017-06                                               $5,416,132   42,344,070        $0.13             $0.08
2017-07                                               $3,887,454   37,917,462        $0.10             $0.09
2017-08                                               $3,807,244   49,862,092        $0.08             $0.10
2017-09                                               $3,974,779   41,827,908        $0.10             $0.09
2017-10                                               $4,934,204   46,646,998        $0.11             $0.09
2017-11                                               $2,080,056   44,349,771        $0.05             $0.08
2017-12                                               $5,207,322   43,253,024        $0.12             $0.09
2018-01                                               $3,294,502   44,869,496        $0.07             $0.08
2018-02                                               $2,119,864   44,868,130        $0.05             $0.08
2018-03                                               $2,250,604   48,132,190        $0.05             $0.06
2018-04                                                $959,427    46,509,087        $0.02             $0.04
2018-05                                               $2,032,802   55,942,116        $0.04             $0.03
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Attachment C.1: Diovan and Valsartan Manufacturer Sales Data
                1               2               3             4             5             6           7
                            Diovan                                              Valsartan
                                              Average                                  Average 3-Month Moving
                                             Price per                                Price per Average Price per
Month               Sales            Pills         Pill         Sales          Pills        Pill              Pill
2018-06                                                   -$1,321,208   32,585,973       -$0.04             $0.01
2018-07                                                    $1,261,858   19,400,102        $0.07             $0.02
2018-08                                                    $2,634,510   20,125,988        $0.13             $0.04
2018-09                                                   $18,842,695   50,732,605        $0.37             $0.25
2018-10                                                    $7,178,474   28,378,264        $0.25             $0.29
2018-11                                                       $33,278   12,021,762        $0.00             $0.29
2018-12                                                    $1,961,470   11,599,009        $0.17             $0.18
2019-01                                                    $2,071,547   10,907,851        $0.19             $0.12
2019-02                                                   -$1,198,080    6,806,657       -$0.18             $0.10
2019-03                                                    $1,704,786   12,683,818        $0.13             $0.08
2019-04                                                     -$416,742    7,150,985       -$0.06             $0.00
2019-05                                                     -$718,944    9,430,879       -$0.08             $0.02
2019-06                                                    $1,083,412    5,805,049        $0.19             $0.00
2019-07                                                      $937,317    5,619,570        $0.17             $0.06
2019-08                                                      $724,017    5,591,393        $0.13             $0.16
2019-09                                                      $575,900    3,350,594        $0.17             $0.15
2019-10                                                      $888,786    3,997,405        $0.22             $0.17
2019-11                                                      $498,488    2,130,614        $0.23             $0.21
2019-12                                                    $5,742,587   20,197,001        $0.28             $0.27
2020-01                                                    $1,837,156    6,187,050        $0.30             $0.28


Notes:
   1-2    Source: Novartis transactional sales, credits, chargebacks and returns data (NPC-Diovan-000503.xlsx, NPC-Diovan-000504.xlsx,
          NPC-Diovan-000505.xlsx, NPC-Diovan-000506.xlsx, NPC-Diovan-000507.xlsx, NPC-Diovan-000508.xlsx, NPC-Diovan-000509.xlsx, NPC-Diovan-000510.xlsx,
          NPC-Diovan-000582.xlsx, NPC-Diovan-000588.xlsx, NPC-Diovan-000589.xlsx, NPC-Diovan-000590.xlsx, NPC-Diovan-000591.xlsx,
          NPC-Diovan-000592.xlsx, NPC-Diovan-000593.xlsx, NPC-Diovan-000594.xlsx, NPC-Diovan-000595.xlsx).
   3      = Column 1 / Column 2.
   4-5    Source: Generic manufacturer transactional sales data:
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Attachment C.1: Diovan and Valsartan Manufacturer Sales Data
              1             2            3            4              5            6               7
                        Diovan                                          Valsartan
                                       Average                                 Average 3-Month Moving
                                      Price per                               Price per Average Price per
Month            Sales          Pills       Pill          Sales        Pills         Pill                Pill
        Ranbaxy (SUN_02773728+Valsartan+2014+to+2017.XLSX, SUN_02767657_Valsartan 2014_chargeback.xls, SUN_02767658_Valsartan 2015_chargeback.xls,
        SUN_02767659_Valsartan 2016_chargeback.xls, SUN_02753984_Valsartan 2017_chargeback.xlsx); Sandoz (Sandoz-Valsartan-000002, Sandoz-Valsartan-000003, Sandoz-
        Valsartan-000004, Sandoz-Valsartan-000005); Aurobindo (Valsartan Tablets Chargeback Data 2014-2019.xlsx, Valsartan data from Jan 2015-Mar 2019 - SALES - Final.xlsx,
        Valsartan tabs Rebate Data 2014-2019 - FINAL.xlsb, Valsartan Tabs Special Instructions Sales Return Data with Qty 2014-2019 - FINAL.xlsb); Jubilant (Copy of Valsartan
        Chargeback data since launch - seperate worksheets per NDC#.xlsb, Copy of Valsartan Sales since launch.xlsx); Mylan (MYLVAL00016133- HIGHLY CONFIDENTIAL.xlsx,
        MYLVAL00016134 - HIGHLY CONFIDENTIAL.xlsx); Hetero/Camber (HETERO00000059-HETERO00000059_Attorneys_Eyes_Only.xlsx, HETERO00000060-
        HETERO00000060_Attorneys_Eyes_Only.xlsx); Prinston (PRIN-00000001.xlsx, PRIN-00000003.xlsx, PRIN-00000004.xlsx, PRIN-00000005.xlsx, PRIN-00000006.xlsx); Teva
        (TEVA_RANBAXY-ANTITRUST.0000016); Lupin (VALSARTAN Chargeback data - Highly Confidential - Outside Counsel Eyes Only.csv, Valartan Gross to Net Sales- Highly
        Confidential - Outside Counsel Eyes Only.xls); Endo (ENDO_000567, ENDO_000568, ENDO_000569, ENDO_000570); Amneal (AMNEAL05922-AMNEAL05922.xlsx);
        Alembic (ALEMBIC000078.xlsx); Torrent (TORRENT048303).

   6    = Column 4 / Column 5.
   7    = Prior three month sum from Column 4 / prior three month sum for Column 5.
        Since the data show negative prices, from April 2015 to June 2015, prices are calculated as the average of the prices found in March 2015 and July 2015.
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Attachment C.2: Diovan and Valsartan Yardstick Calculation - Scenario 1
           1              2             3                4            5          6           7        8         9           10         11       12
               Diovan                        Valsartan                          Yardstick Inputs                          But-For Yardsticks

                        Average                         3-Month       No. of    Generic    Generic    Brand     No. of    Generic     Generic    Brand
                       Price per                  Moving Average       Gen.     Market       Price     Price     Gen.     Market        Price     Price
Month          Pills         Pill           Pills   Price per Pill   Manuf.      Share     Decline   Change    Manuf.      Share      Decline   Change

                                                                                                                      2        2%      -30.9%    -1.3%
                                                                                                                      2       86%      -23.0%   -14.9%
                                                                                                                      3       59%      -27.8%   -18.7%
                                                                                                                      3       51%      -31.3%   -16.6%
                                                                                                                      4       53%      -59.5%   -10.6%
                                                                                                                      5       58%      -55.4%   -12.0%
                                                                                                                      5       54%      -56.2%   -13.4%
                                                                                                                      7       84%      -57.2%   -13.3%
                                                                                                                      7       80%      -58.2%   -13.2%
                                                                                                                      7       82%      -59.2%   -13.0%
                                                                                                                      7       81%      -60.2%   -12.9%
                                                                                                                      7       85%      -61.2%   -12.8%
                                                                                                                      7       86%      -62.2%   -12.7%
                                                                                                                      7       87%      -63.2%   -12.6%
                                                                                                                      7       87%      -64.1%   -12.5%
                                                                                                                      7       87%      -65.1%   -12.4%
                                                                                                                      7       92%      -66.1%   -12.3%
                                                                                                                      7       89%      -67.1%   -12.2%
                                                                                                                      7       92%      -68.1%   -12.1%
                                                                                                                      7       93%      -69.1%   -12.0%
                                                                                                                      7       96%      -70.1%   -11.9%
                                        786,240              $3.02          1       2%      -30.9%    -1.3%           8       94%      -71.1%   -11.8%
                                    105,448,560              $3.37          2      86%      -23.0%   -14.9%           8       95%      -72.0%   -11.7%
                                     17,945,070              $3.16          2      59%      -27.8%   -18.7%           8       94%      -73.0%   -11.6%
                                     14,679,330              $3.00          2      51%      -31.3%   -16.6%           8       94%      -74.0%   -11.4%
                                     19,655,670              $1.77          2      53%      -59.5%   -10.6%           8       95%      -75.0%   -11.3%
                                     21,659,130              $1.95          2      58%      -55.4%   -12.0%           8       95%      -76.0%   -11.2%
                                     19,473,999              $1.91          2      54%      -56.2%   -13.4%           8       96%      -77.0%   -11.1%
                                     52,805,470              $0.96        10+      84%      -78.0%   -11.0%         10+       97%      -78.0%   -11.0%
                                     29,873,405              $0.39        10+      80%      -91.1%   -25.3%
                                     37,441,810              $0.08        10+      82%      -98.1%   -19.0%
                                     31,396,010              $0.08        10+      81%      -98.1%   -30.0%
                                     37,408,756              $0.08        10+      85%      -98.1%   -30.1%
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Attachment C.2: Diovan and Valsartan Yardstick Calculation - Scenario 1
              1              2             3                 4            5         6           7         8         9          10         11       12
                  Diovan                        Valsartan                          Yardstick Inputs                          But-For Yardsticks

                           Average                          3-Month       No. of   Generic    Generic     Brand     No. of   Generic     Generic    Brand
                          Price per                   Moving Average       Gen.    Market        Price     Price     Gen.    Market        Price     Price
Month             Pills         Pill          Pills     Price per Pill   Manuf.     Share     Decline    Change    Manuf.     Share      Decline   Change
                                       39,601,009              $0.08        10+       86%      -98.1%    -25.2%
                                       35,571,350              $0.08        10+       87%      -98.2%    -45.0%
                                       40,606,689              $0.10        10+       87%      -97.7%    -22.9%
                                       36,218,311              $0.06        10+       87%      -98.6%    -26.9%
                                       38,315,635              $0.08        10+       92%      -98.3%    -37.6%
                                       43,417,251              $0.09        10+       89%      -98.0%    -16.0%
                                       51,575,914              $0.13        10+       92%      -97.1%    -30.5%
                                       46,329,710              $0.16        10+       93%      -96.4%    -50.0%
                                       39,558,651              $0.18        10+       96%      -95.9%    -79.9%
                                       48,379,239              $0.14        10+       94%      -96.9%    -10.8%
                                       42,277,921              $0.10        10+       95%      -97.6%    -34.4%
                                       41,193,350              $0.05        10+       94%      -98.9%    -12.8%
                                       42,869,849              $0.04        10+       94%      -99.1%    -25.5%
                                       45,519,483              $0.05        10+       95%      -98.9%    -19.0%
                                       47,350,528              $0.07        10+       95%      -98.5%      3.8%
                                       45,564,629              $0.06        10+       96%      -98.5%    -11.3%
                                       44,923,946              $0.05        10+       97%      -98.8%     20.7%
                                       49,651,616              $0.06        10+       97%      -98.5%     17.1%
                                       48,903,684              $0.08        10+       98%      -98.2%     23.2%


Notes:
   1     = C.1 Column 2.
   2     = C.1 Column 3.
   3     = C.1 Column 5.
   4     = C.1 Column 7.
   5     Count of generic manufacturers that launched in the actual world, based on the produced manufacturer sales data.
   6     = Column 3 / (Column 1 + Column 3).
   7     = (Column 4 - Column 2 in May 2014) / (Column 2 in May 2014).
   8     = (Column 2 - Column 2 in May 2014) / (Column 2 in May 2014).
   9     Count of generic manufacturers that would have launched in the but-for world according to the but-for Scenario.
   10    = Column 6, beginning in September 2012.
   11    = From September 2012 through March 2013, set equal to Column 7. From April 2013 to December 2014,
         based on a linear interpolation between Column 7 in December 2014 and January 2015.
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Attachment C.2: Diovan and Valsartan Yardstick Calculation - Scenario 1
             1            2         3               4            5         6           7         8          9          10         11       12
                 Diovan                 Valsartan                         Yardstick Inputs                           But-For Yardsticks

                        Average                       3-Month     No. of   Generic    Generic    Brand      No. of   Generic     Generic    Brand
                       Price per                Moving Average     Gen.    Market       Price     Price      Gen.    Market        Price     Price
Month          Pills         Pill         Pills   Price per Pill Manuf.      Share    Decline   Change     Manuf.     Share      Decline   Change
   12   = From September 2012 through March 2013, set equal to Column 8. From April 2013 to December 2014,
        based on a linear interpolation between Column 8 in December 2014 and January 2015.
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Attachment C.3: Diovan and Valsartan Direct Purchaser Overcharges - Scenario 1
             1           2           3               4              5          6           7         8          9          10             11          12             13          14                 15     16
                                Actual                                       But-For Yardsticks                                 But-For                                               Overcharges
                        Diovan                      Valsartan 3-
                       Average                   Month Moving       No. of   Generic     Generic     Brand                             Valsartan      Diovan
                      Price per     Valsartan Average Price per      Gen.     Market        Price     Price               Valsartan    Price per    Price per                    Generic-
Month   Diovan Pills        Pill          Pills              Pill  Manuf.      Share      Decline   Change Diovan Pills        Pills         Pill         Pill   Brand-Generic    Generic    Brand-Brand        Total
   8    = C.2 Column 12.
   9    = (Column 1 + Column 3) * (1 - Column 6).
   10   = (Column 1 + Column 3) * Column 6.
   11   = Column 2 in August 2012 * (1 + Column 7).
   12   = Column 2 in August 2012 * (1 + Column 8).
   13   = (Column 10 - Column 3) * (Column 2 - Column 11). If Column 3 > Column 10, set to zero.
   14   = Column 3 * (Column 4 - Column 11).
   15   = Column 10 * (Column 2 - Column 12).
   16   = Column 13 + Column 14 + Column 15.
                                      Case 1:19-md-02878-NMG Document 526 Filed 12/20/21 Page 55 of 85


Attachment C.4: Diovan and Valsartan Yardstick Calculation - Scenario 2
           1              2             3                4            5          6           7        8         9           10         11       12
               Diovan                        Valsartan                          Yardstick Inputs                          But-For Yardsticks

                        Average                         3-Month       No. of    Generic    Generic    Brand     No. of    Generic     Generic    Brand
                       Price per                  Moving Average       Gen.     Market       Price     Price     Gen.     Market        Price     Price
Month          Pills         Pill           Pills   Price per Pill   Manuf.      Share     Decline   Change    Manuf.      Share      Decline   Change
2012-08
2012-09                                                                                                               5        2%      -56.2%   -13.4%
2012-10                                                                                                               5       86%      -56.2%   -13.4%
2012-11                                                                                                               5       59%      -56.2%   -13.4%
2012-12                                                                                                               5       51%      -56.2%   -13.4%
2013-01                                                                                                               5       53%      -56.2%   -13.4%
2013-02                                                                                                               5       58%      -56.2%   -13.4%
2013-03                                                                                                               5       54%      -56.2%   -13.4%
2013-04                                                                                                               7       84%      -57.2%   -13.3%
2013-05                                                                                                               7       80%      -58.2%   -13.2%
2013-06                                                                                                               7       82%      -59.2%   -13.0%
2013-07                                                                                                               7       81%      -60.2%   -12.9%
2013-08                                                                                                               7       85%      -61.2%   -12.8%
2013-09                                                                                                               7       86%      -62.2%   -12.7%
2013-10                                                                                                               7       87%      -63.2%   -12.6%
2013-11                                                                                                               7       87%      -64.1%   -12.5%
2013-12                                                                                                               7       87%      -65.1%   -12.4%
2014-01                                                                                                               7       92%      -66.1%   -12.3%
2014-02                                                                                                               7       89%      -67.1%   -12.2%
2014-03                                                                                                               7       92%      -68.1%   -12.1%
2014-04                                                                                                               7       93%      -69.1%   -12.0%
2014-05                                                                                                               7       96%      -70.1%   -11.9%
2014-06                                 786,240              $3.02          1       2%      -30.9%    -1.3%           8       94%      -71.1%   -11.8%
2014-07                             105,448,560              $3.37          2      86%      -23.0%   -14.9%           8       95%      -72.0%   -11.7%
2014-08                              17,945,070              $3.16          2      59%      -27.8%   -18.7%           8       94%      -73.0%   -11.6%
2014-09                              14,679,330              $3.00          2      51%      -31.3%   -16.6%           8       94%      -74.0%   -11.4%
2014-10                              19,655,670              $1.77          2      53%      -59.5%   -10.6%           8       95%      -75.0%   -11.3%
2014-11                              21,659,130              $1.95          2      58%      -55.4%   -12.0%           8       95%      -76.0%   -11.2%
2014-12                              19,473,999              $1.91          2      54%      -56.2%   -13.4%           8       96%      -77.0%   -11.1%
2015-01                              52,805,470              $0.96        10+      84%      -78.0%   -11.0%         10+       97%      -78.0%   -11.0%
2015-02                              29,873,405              $0.39        10+      80%      -91.1%   -25.3%
2015-03                              37,441,810              $0.08        10+      82%      -98.1%   -19.0%
2015-04                              31,396,010              $0.08        10+      81%      -98.1%   -30.0%
2015-05                              37,408,756              $0.08        10+      85%      -98.1%   -30.1%
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Attachment C.4: Diovan and Valsartan Yardstick Calculation - Scenario 2
               1              2             3                 4            5         6           7         8         9          10         11       12
                   Diovan                        Valsartan                          Yardstick Inputs                          But-For Yardsticks

                            Average                          3-Month       No. of   Generic    Generic     Brand     No. of   Generic     Generic    Brand
                           Price per                   Moving Average       Gen.    Market        Price     Price     Gen.    Market        Price     Price
Month              Pills         Pill          Pills     Price per Pill   Manuf.     Share     Decline    Change    Manuf.     Share      Decline   Change
2015-06                                 39,601,009              $0.08        10+       86%      -98.1%    -25.2%
2015-07                                 35,571,350              $0.08        10+       87%      -98.2%    -45.0%
2015-08                                 40,606,689              $0.10        10+       87%      -97.7%    -22.9%
2015-09                                 36,218,311              $0.06        10+       87%      -98.6%    -26.9%
2015-10                                 38,315,635              $0.08        10+       92%      -98.3%    -37.6%
2015-11                                 43,417,251              $0.09        10+       89%      -98.0%    -16.0%
2015-12                                 51,575,914              $0.13        10+       92%      -97.1%    -30.5%
2016-01                                 46,329,710              $0.16        10+       93%      -96.4%    -50.0%
2016-02                                 39,558,651              $0.18        10+       96%      -95.9%    -79.9%
2016-03                                 48,379,239              $0.14        10+       94%      -96.9%    -10.8%
2016-04                                 42,277,921              $0.10        10+       95%      -97.6%    -34.4%
2016-05                                 41,193,350              $0.05        10+       94%      -98.9%    -12.8%
2016-06                                 42,869,849              $0.04        10+       94%      -99.1%    -25.5%
2016-07                                 45,519,483              $0.05        10+       95%      -98.9%    -19.0%
2016-08                                 47,350,528              $0.07        10+       95%      -98.5%      3.8%
2016-09                                 45,564,629              $0.06        10+       96%      -98.5%    -11.3%
2016-10                                 44,923,946              $0.05        10+       97%      -98.8%     20.7%
2016-11                                 49,651,616              $0.06        10+       97%      -98.5%     17.1%
2016-12                                 48,903,684              $0.08        10+       98%      -98.2%     23.2%


Notes:
   1      = C.1 Column 2.
   2      = C.1 Column 3.
   3      = C.1 Column 5.
   4      = C.1 Column 7.
   5      Count of generic manufacturers that launched in the actual world, based on the produced manufacturer sales data.
   6      = Column 3 / (Column 1 + Column 3).
   7      = (Column 4 - Column 2 in May 2014) / (Column 2 in May 2014).
   8      = (Column 2 - Column 2 in May 2014) / (Column 2 in May 2014).
   9      Count of generic manufacturers that would have launched in the but-for world according to the but-for Scenario.
   10     = Column 6, beginning in September 2012.
   11     = From September 2012 to March 2013, set equal to Column 7 in December 2014. From April 2013 to December 2014,
          based on a linear interpolation between Column 7 in December 2014 and January 2015.
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Attachment C.4: Diovan and Valsartan Yardstick Calculation - Scenario 2
             1            2         3               4           5          6           7        8          9          10         11       12
                 Diovan                 Valsartan                         Yardstick Inputs                          But-For Yardsticks

                        Average                       3-Month     No. of   Generic    Generic    Brand      No. of  Generic     Generic    Brand
                       Price per                Moving Average     Gen.    Market       Price     Price      Gen.    Market       Price     Price
Month          Pills         Pill         Pills   Price per Pill Manuf.      Share    Decline   Change     Manuf.      Share    Decline   Change
   12   = From September 2012 to March 2013, set equal to Column 8 in December 2014. From April 2013 to December 2014,
        based on a linear interpolation between Column 8 in December 2014 and January 2015.
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Attachment C.3: Diovan and Valsartan Direct Purchaser Overcharges - Scenario 2
             1           2           3               4              5          6           7         8          9          10             11          12             13          14                 15     16
                                Actual                                       But-For Yardsticks                                 But-For                                               Overcharges
                        Diovan                      Valsartan 3-
                       Average                   Month Moving       No. of   Generic     Generic     Brand                             Valsartan      Diovan
                      Price per     Valsartan Average Price per      Gen.     Market        Price     Price               Valsartan    Price per    Price per                    Generic-
Month   Diovan Pills        Pill          Pills              Pill  Manuf.      Share      Decline   Change Diovan Pills        Pills         Pill         Pill   Brand-Generic    Generic    Brand-Brand        Total
   8    = C.2 Column 12.
   9    = (Column 1 + Column 3) * (1 - Column 6).
   10   = (Column 1 + Column 3) * Column 6.
   11   = Column 2 in August 2012 * (1 + Column 7).
   12   = Column 2 in August 2012 * (1 + Column 8).
   13   = (Column 10 - Column 3) * (Column 2 - Column 11). If Column 3 > Column 10, set to zero.
   14   = Column 3 * (Column 4 - Column 11).
   15   = Column 10 * (Column 2 - Column 12).
   16   = Column 13 + Column 14 + Column 15.
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                                       Attachment D




REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                  HIGHLY CONFIDENTIAL
RANBAXY DIRECT PURCHASER LITIGATION
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Attachment D.1: Nexium and Esomeprazole Magnesium Manufacturer Net Sales Data
               1           2            3           4            5          6              7
                       Nexium                               Esomeprazole Magnesium
                                                                                                3-Month
                                        Average                                  Average         Moving
                                       Price per                                Price per Average Price
Month             Sales         Pills        Pill        Sales           Pills        Pill        per Pill
         Excludes the "Federal Gov't - Department of Defense (DOD)" class of trade.
         Since the chargebacks data through 2016 are only available in quarterly format, the quarterly totals are divided by 3 to estimate monthly totals.
   3     = Column 1 / Column 2.
   4-5   Source: Generic manufacturer transactional sales data:
         Teva (TEVA_RANBAXY-ANTITRUST.0000021.xlsx); Mylan (MYL-ESOM-0000098, MYL-ESOM-0000099, MYL-ESOM-0000100, MYL-ESOM-0000101, MYL-ESOM-
         0000102); Dr. Reddy’s Lab (DRL-001057); Hetero/Camber (Esomeprazole Sales 2015-2017.xlsx); Aurobindo (Chargeback Data for Esomeprazole - Launch till
         December 2019.xlsx, Sales Data from Launch till December 2019.xlsb, Credit Note Data from Launch till December 2019.xlsb); Ranbaxy (SUN_02753986,
         SUN_027737727); Torrent (TORRENT048302).
   6     = Column 4 / Column 5.
   7     = Prior three month sum from Column 4 / prior three month sum for Column 5.
         Since the data show negative prices, from December 2017 through February 2018, and from June 2018 through August 2018,
         prices are calculated as the average of the prices found in adjacent months.
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Attachment D.2: Nexium and Esomeprazole Magnesium Yardstick Calculations - Scenario 1
               1            2             3              4               5         6           7           8           9          10          11       12
                   Nexium               Esomeprazole Magnesium                      Yardstick Inputs                            But-For Yardsticks
                          Average                   3-Month Moving       No. of   Generic    Generic                   No. of    Generic    Generic     Brand
                         Price per                 Average Price per      Gen.    Market        Price   Brand Price     Gen.     Market        Price     Price
Month              Pills       Pill          Pills               Pill   Manuf.     Share     Decline        Change    Manuf.       Share    Decline    Change
2017-03                               38,342,230               $0.23          6    59.7%      -96.5%                        7     60.5%      -96.5%
2017-04                               35,904,970               $0.16          6    73.8%      -97.6%                        7     60.5%      -97.6%
2017-05                               39,475,310               $0.17          6    73.9%      -97.5%                        7     60.5%      -97.5%
2017-06                               49,789,540               $0.22          6    80.6%      -96.7%                        7     60.5%      -96.7%
2017-07                               35,202,720               $0.31          6    83.5%      -95.4%                        7     60.5%      -95.4%
2017-08                               39,948,400               $0.23          6    84.3%      -96.6%                        7     60.5%      -96.6%
2017-09                               35,930,860               $0.18          6    86.5%      -97.3%                        7     60.5%      -97.3%
2017-10                               39,436,240               $0.19          6    86.9%      -97.1%                        7     60.5%      -97.1%
2017-11                               27,027,420               $0.02          6    80.0%      -99.8%                        7     60.5%      -99.8%
2017-12                               52,406,060               $0.06          6    89.7%      -99.1%                        7     60.5%      -99.1%
2018-01                               41,177,700               $0.06          6    89.7%      -99.1%                        7     60.5%      -99.1%
2018-02                               34,326,630               $0.06          6    88.9%      -99.1%                        7     60.5%      -99.1%
2018-03                               30,117,310               $0.10          6    88.6%      -98.5%                        7     60.5%      -98.5%
2018-04                               38,359,440               $0.10          6    89.6%      -98.4%                        7     60.5%      -98.4%
2018-05                               30,878,310               $0.01          6    88.4%      -99.9%                        7     60.5%      -99.9%
2018-06                               22,941,780               $0.12          6    87.2%      -98.2%                        7     60.5%      -98.2%
2018-07                               19,949,310               $0.12          6    86.1%      -98.2%                        7     60.5%      -98.2%
2018-08                               28,881,030               $0.12          6    88.9%      -98.2%                        7     60.5%      -98.2%
2018-09                               25,116,570               $0.23          6    89.2%      -96.6%                        7     60.5%      -96.6%
2018-10                               24,453,420               $0.27          6    87.8%      -95.9%                        7     60.5%      -95.9%
2018-11                               26,556,510               $0.14          6    89.2%      -97.9%                        7     60.5%      -97.9%
2018-12                               26,075,870               $0.04          6    87.2%      -99.4%                        7     60.5%      -99.4%
2019-01                               31,318,980               $0.12          6    91.7%      -98.2%                        7     60.5%      -98.2%
2019-02                               23,136,600               $0.21          6    90.4%      -96.8%                        7     60.5%      -96.8%
2019-03                               24,929,240               $0.27          6    90.1%      -96.0%                        7     60.5%      -96.0%
2019-04                               19,092,060               $0.17          6    86.4%      -97.4%                        7     60.5%      -97.4%
2019-05                                8,130,330               $0.30          7    72.7%      -95.5%                        8     60.5%      -95.5%
2019-06                                6,457,260               $0.30          7    73.1%      -95.5%                        8     60.5%      -95.5%


Notes:
   1      = D.1 Column 2.
   2      = D.1 Column 3.
   3      = D.1 Column 5.
   4      = D.1 Column 7.
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Attachment D.2: Nexium and Esomeprazole Magnesium Yardstick Calculations - Scenario 1
             1            2          3               4               5           6           7           8              9          10         11        12
                Nexium             Esomeprazole Magnesium                         Yardstick Inputs                               But-For Yardsticks
                        Average                3-Month Moving        No. of    Generic     Generic                      No. of    Generic    Generic     Brand
                       Price per              Average Price per       Gen.     Market         Price   Brand Price        Gen.     Market        Price     Price
Month           Pills        Pill      Pills                Pill    Manuf.       Share     Decline        Change      Manuf.        Share    Decline    Change
   5    Count of generic manufacturers that launched in the actual world, based on the produced manufacturer sales data.
   6    = Column 3 / (Column 1 + Column 3).
   7    = (Column 4 - Column 2 in December 2014) / (Column 2 in December 2014).
   8    = (Column 2 - Column 2 in December 2014) / (Column 2 in December 2014).
   9    Count of generic manufacturers that would have launched in the but-for world according to the but-for Scenario.
   10   = Column 6, beginning in May 2014.
   11   From May 2014 through August 2015, set equal to Column 7 in August 2015.
        From September 2015 onward, set equal to Column 7 in September 2015 onward.
   12   From May 2014 through August 2015, set equal to Column 8 in August 2015.
        From September 2015 onward, set equal to Column 8 in September 2015 onward.
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Attachment D.4: Nexium and Esomeprazole Magnesium Yardstick Calculations - Scenario 2
               1            2             3              4               5         6           7           8           9          10          11       12
                   Nexium               Esomeprazole Magnesium                      Yardstick Inputs                            But-For Yardsticks
                          Average                   3-Month Moving       No. of   Generic    Generic                   No. of    Generic    Generic     Brand
                         Price per                 Average Price per      Gen.    Market        Price   Brand Price     Gen.     Market        Price     Price
Month              Pills       Pill          Pills               Pill   Manuf.     Share     Decline        Change    Manuf.       Share    Decline    Change
2017-03                               38,342,230               $0.23          6    59.7%      -96.5%        -48.0%          7     89.7%      -98.2%     12.4%
2017-04                               35,904,970               $0.16          6    73.8%      -97.6%         -8.2%          7     89.7%      -96.6%     11.2%
2017-05                               39,475,310               $0.17          6    73.9%      -97.5%         -5.9%          7     88.9%      -95.9%     10.7%
2017-06                               49,789,540               $0.22          6    80.6%      -96.7%         -5.1%          7     88.6%      -97.9%     12.3%
2017-07                               35,202,720               $0.31          6    83.5%      -95.4%          6.3%          7     89.6%      -99.4%     13.5%
2017-08                               39,948,400               $0.23          6    84.3%      -96.6%          6.4%          7     88.4%      -98.2%      8.0%
2017-09                               35,930,860               $0.18          6    86.5%      -97.3%          2.2%          7     87.2%      -96.8%      8.5%
2017-10                               39,436,240               $0.19          6    86.9%      -97.1%          5.4%          7     86.1%      -96.0%      9.2%
2017-11                               27,027,420               $0.02          6    80.0%      -99.8%          7.5%          7     88.9%      -97.4%     10.0%
2017-12                               52,406,060               $0.06          6    89.7%      -99.1%          9.7%          7     89.2%      -95.5%      6.4%
2018-01                               41,177,700               $0.06          6    89.7%      -99.1%          2.8%          7     87.8%      -95.5%      7.9%
2018-02                               34,326,630               $0.06          6    88.9%      -99.1%          3.8%          7     89.2%      -95.5%
2018-03                               30,117,310               $0.10          6    88.6%      -98.5%          2.8%          7     87.2%      -95.5%
2018-04                               38,359,440               $0.10          6    89.6%      -98.4%          3.4%          7     91.7%      -95.5%
2018-05                               30,878,310               $0.01          6    88.4%      -99.9%          5.0%          7     90.4%      -95.5%
2018-06                               22,941,780               $0.12          6    87.2%      -98.2%          4.3%          7     90.1%      -95.5%
2018-07                               19,949,310               $0.12          6    86.1%      -98.2%         10.7%          7     86.4%      -95.5%
2018-08                               28,881,030               $0.12          6    88.9%      -98.2%         12.4%          7     72.7%      -95.5%
2018-09                               25,116,570               $0.23          6    89.2%      -96.6%         11.2%          7     73.1%      -95.5%
2018-10                               24,453,420               $0.27          6    87.8%      -95.9%         10.7%          7                -95.5%
2018-11                               26,556,510               $0.14          6    89.2%      -97.9%         12.3%          7                -95.5%
2018-12                               26,075,870               $0.04          6    87.2%      -99.4%         13.5%          7                -95.5%
2019-01                               31,318,980               $0.12          6    91.7%      -98.2%          8.0%          7                -95.5%
2019-02                               23,136,600               $0.21          6    90.4%      -96.8%          8.5%          7                -95.5%
2019-03                               24,929,240               $0.27          6    90.1%      -96.0%          9.2%          7                -95.5%
2019-04                               19,092,060               $0.17          6    86.4%      -97.4%         10.0%          7                -95.5%
2019-05                                8,130,330               $0.30          7    72.7%      -95.5%          6.4%          8                -95.5%
2019-06                                6,457,260               $0.30          7    73.1%      -95.5%          7.9%          8                -95.5%


Notes:
   1      = D.1 Column 2.
   2      = D.1 Column 3.
   3      = D.1 Column 5.
   4      = D.1 Column 7.
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Attachment D.4: Nexium and Esomeprazole Magnesium Yardstick Calculations - Scenario 2
             1            2           3               4              5           6           7           8              9          10         11        12
                Nexium             Esomeprazole Magnesium                         Yardstick Inputs                               But-For Yardsticks
                        Average                 3-Month Moving       No. of    Generic     Generic                      No. of    Generic    Generic     Brand
                       Price per               Average Price per      Gen.     Market         Price   Brand Price        Gen.     Market        Price     Price
Month           Pills        Pill       Pills                Pill   Manuf.       Share     Decline        Change      Manuf.        Share    Decline    Change
   5    Count of generic manufacturers that launched in the actual world, based on the produced manufacturer sales data.
   6    = Column 3 / (Column 1 + Column 3).
   7    = (Column 4 - Column 2 in December 2014) / (Column 2 in December 2014).
   8    = (Column 2 - Column 2 in December 2014) / (Column 2 in December 2014).
   9    Count of generic manufacturers that would have launched in the but-for world according to the but-for Scenario.
   10   = Column 6, beginning in May 2014.
   11   From May 2014 through August 2015, set equal to Column 7 starting in October 2015.
        From February 2018 onward, set equal to January 2018.
   12   From May 2014 through August 2015, set equal to Column 8 starting in October 2015.
        Brand price change yardsticks are not evaluated beyond the point when data run out in Column 8.
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Attachment D.5: Nexium and Esomeprazole Magnesium Direct Purchaser Overcharges - Scenario 2
            1          2            3              4           5        6         7       8       9             10              11          12           13              14                 15       16
                               Actual                                But-For Yardsticks                              But-For                                                  Overcharges
                                                  Esomeprazole
                       Nexium                     Magnesium 3-
                      Average                    Month Moving No. of Generic Generic Brand                                  Esomeprazole Nexium
            Nexium Price per Esomeprazole          Average Price   Gen. Market   Price   Price   Nexium Esomeprazole          Magnesium Price per
Month          Pills       Pill Magnesium Pills          per Pill Manuf. Share Decline Change       Pills Magnesium Pills    Price per Pill   Pill   Brand-Generic Generic-Generic     Brand-Brand        Total
   15   = Min(Column 1, Column 9) * (Column 2 - Column 12).
   16   = Column 13 + Column 14 + Column 15.




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                                       Attachment E




REBUTTAL DECLARATION OF MEREDITH ROSENTHAL                  HIGHLY CONFIDENTIAL
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Attachment E.1: Valcyte and Valganciclovir Manufacturer Net Sales Data
           1                2               3            4           5            6             7
                       Valcyte                                       Valganciclovir
                                                                                              3-Month
                                          Average                                Average       Moving
                                         Price per                              Price per Average Price
Month          Sales             Pills         Pill         Sales       Pills         Pill      per Pill
2017-05                                                 -$888,311   294,960        -$3.01       $10.70
2017-06                                                  $469,940   324,888         $1.45        $7.21
2017-07                                               -$2,903,042   250,842      -$11.57         $7.21
2017-08                                                 -$629,976   274,065        -$2.30        $7.21
2017-09                                                $1,127,828   427,203         $2.64        $7.21
2017-10                                               -$8,666,306   145,197      -$59.69         $7.21
2017-11                                                $1,847,712   457,770         $4.04        $7.21
2017-12                                                $3,315,184   456,267         $7.27        $7.21
2018-01                                                 -$863,128   241,962        -$3.57        $3.72
2018-02                                                $1,831,066   351,705         $5.21        $4.08
2018-03                                                $3,281,409   465,624         $7.05        $4.01
2018-04                                               -$1,195,785   140,013        -$8.54        $4.09
2018-05                                                $2,191,945   347,355         $6.31        $4.49
2018-06                                                $2,164,074   395,625         $5.47        $3.58
2018-07                                                $1,946,644   340,401         $5.72        $5.82
2018-08                                                  $918,349   303,315         $3.03        $4.84
2018-09                                                 -$171,865   250,059        -$0.69        $3.01
2018-10                                                  $323,490   213,897         $1.51        $1.39
2018-11                                                 -$231,087   131,598        -$1.76        $1.46
2018-12                                                $1,053,349   409,758         $2.57        $1.52
2019-01                                                $1,515,440   314,055         $4.83        $2.73
2019-02                                                  $835,937   222,828         $3.75        $3.60
2019-03                                                  $268,357   222,814         $1.20        $3.45
2019-04                                                  $449,166   244,835         $1.83        $2.25
2019-05                                                $1,258,618   394,463         $3.19        $2.29
2019-06                                                  -$35,959    37,080        -$0.97        $2.47
2019-07                                                  $682,383    89,280         $7.64        $3.66
2019-08                                                  $226,227    62,640         $3.61        $4.62
2019-09                                                  $158,756    49,320         $3.22        $5.30
2019-10                                                  $337,836    95,400         $3.54        $3.49
2019-11                                                  -$94,458    13,680        -$6.90        $2.54
2019-12                                                   $36,386    33,120         $1.10        $1.97




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Attachment E.1: Valcyte and Valganciclovir Manufacturer Net Sales Data
               1                2               3         4           5            6             7
                           Valcyte                                    Valganciclovir
                                                                                               3-Month
                                              Average                             Average       Moving
                                             Price per                           Price per Average Price
Month              Sales             Pills         Pill       Sales      Pills         Pill      per Pill
Notes:
   1-2   Source: Roche transactional sales data (Exhibit 1-A-2020-05-15.xlsx, Exhibit 2-A-2020-05-15.xlsx, Exhibit 3-A-2020-05-15.xlsx, and Ex 4-AA-Reb Svc Fee.xlsx);
         Excludes brand-only customers: ALLERGAN, CAPITOL WHOLESALE DRUG 1460, CESAR CASTILLO, INC, F W KERR COMPANY 3300, and METRO MEDICAL SUPPLY, INC.
   3     = Column 1 / Column 2.
   4-5   Source: Generic manufacturer transactional sales data:
         Endo (ENDO_000562, ENDO_000564, ENDO_000565, ENDO_000566); Dr. Reddy’s Lab (DRL (Meijer v. Ranbaxy)0003689_HIGHLY CONFIDENTIAL, OUTSIDE
         ATTORNEYS EYES ONLY.xlsb); Aurobindo (Valganciclovir Chargeback Data 2016-2019.xlsx, Valganciclovir data from April 2016-March 2019 - SALES - Final.xlsx,
         Valganciclovir Rebate Data 2016-2019 - FINAL.xlsb, Valganciclovir Special Instructions Sales Return Data with Qty 2016-2019 - FINAL.xlsb); Hetero/Camber
         (HETERO00000059-HETERO00000060).
   6     = Column 4 / Column 5.
   7     = Prior three month sum from Column 4 / prior three month sum for Column 5.
         Since the data show negative prices, from June 2017 through December 2017 and November 2018,
         prices are calculated as the average of the prices found in adjacent months.




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Attachment E.2: Valcyte and Valganciclovir Yardstick Calculations - Scenario 1
          1              2            3               4              5          6            7         8           9          10
               Valcyte                    Valganciclovir                 Yardstick Inputs                  But-For Yardsticks

                       Average                        3-Month        No. of   Generic       Generic    No. of    Generic    Generic
                      Price per                 Moving Average        Gen.    Market          Price     Gen.     Market       Price
Month         Pills         Pill          Pills   Price per Pill    Manuf.     Share        Decline   Manuf.      Share     Decline
2014-07
2014-08                                                                                                     2     43.9%      -33.9%
2014-09                                                                                                     2     66.6%      -37.3%
2014-10                                                                                                     2     79.3%      -45.1%
2014-11                                                                  1      43.9%       -21.2%          2     80.0%      -50.6%
2014-12                              776,160               $42.06        2      66.6%       -33.9%          2     83.0%      -59.7%
2015-01                              649,380               $39.85        2      79.3%       -37.3%          2     70.1%      -58.7%
2015-02                              614,760               $34.92        2      80.0%       -45.1%          2     81.5%      -52.2%
2015-03                              844,140               $31.40        2      83.0%       -50.6%          2     87.7%      -49.0%
2015-04                              427,220               $25.63        2      70.1%       -59.7%          2     78.7%      -51.0%
2015-05                              689,445               $26.24        2      81.5%       -58.7%          2     83.8%      -50.5%
2015-06                            1,055,340               $30.42        2      87.7%       -52.2%          2     88.5%      -52.8%
2015-07                              470,880               $32.43        2      78.7%       -49.0%          2     78.3%      -53.5%
2015-08                              645,697               $31.17        2      83.8%       -51.0%          2     88.9%      -53.7%
2015-09                            1,244,820               $31.48        2      88.5%       -50.5%          2     91.3%      -58.2%
2015-10                              323,615               $30.03        2      78.3%       -52.8%          2     77.3%      -60.5%
2015-11                              725,305               $29.56        2      88.9%       -53.5%          2     84.4%      -60.5%
2015-12                            1,146,900               $29.41        2      91.3%       -53.7%          2     88.9%      -60.5%
2016-01                              366,780               $26.60        2      77.3%       -58.2%          2     86.7%      -60.5%
2016-02                              510,676               $25.14        2      84.4%       -60.5%          2     88.8%      -60.5%
2016-03                              908,460               $11.93        3      88.9%       -81.2%          3     88.5%      -81.2%
2016-04                              734,940               $15.08        4      86.7%       -76.3%          4     88.4%      -76.3%
2016-05                              754,184               $13.41        4      88.8%       -78.9%          4     90.8%      -78.9%
2016-06                              857,098               $14.67        4      88.5%       -76.9%          4     89.9%      -76.9%
2016-07                              628,020                $7.85        4      88.4%       -87.7%          4     90.7%      -87.7%
2016-08                              887,100                $9.51        4      90.8%       -85.0%          4     91.3%      -85.0%
2016-09                              848,040                $8.36        4      89.9%       -86.9%          4     90.2%      -86.9%
2016-10                              854,340               $10.97        4      90.7%       -82.8%          4     90.2%      -82.8%
2016-11                              940,140                $9.38        4      91.3%       -85.2%          4     90.2%      -85.2%
2016-12                              826,200                $5.36        4      90.2%       -91.6%          4     90.2%      -91.6%
2017-01                              300,900                $3.71        4                  -94.2%          4     90.2%      -94.2%
2017-02                              554,580                $3.04        4                  -95.2%          4     90.2%      -95.2%
2017-03                              756,300               $13.50        4                  -78.8%          4     90.2%      -78.8%
2017-04                              180,540               $15.77        4                  -75.2%          4     90.2%      -75.2%



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Attachment E.2: Valcyte and Valganciclovir Yardstick Calculations - Scenario 1
          1              2           3               4             5          6            7          8           9          10
               Valcyte                   Valganciclovir                Yardstick Inputs                   But-For Yardsticks

                       Average                       3-Month       No. of   Generic       Generic     No. of    Generic    Generic
                      Price per                Moving Average       Gen.    Market           Price     Gen.     Market        Price
Month         Pills         Pill       Pills     Price per Pill   Manuf.     Share        Decline    Manuf.      Share     Decline
2017-05                            294,960             $10.70           4                  -83.2%          4     90.2%      -83.2%
2017-06                            324,888              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-07                            250,842              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-08                            274,065              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-09                            427,203              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-10                            145,197              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-11                            457,770              $7.21           4                  -88.7%          4     90.2%      -88.7%
2017-12                            456,267              $7.21           4                  -88.7%          4     90.2%      -88.7%
2018-01                            241,962              $3.72           4                  -94.2%          4     90.2%      -94.2%
2018-02                            351,705              $4.08           4                  -93.6%          4     90.2%      -93.6%
2018-03                            465,624              $4.01           4                  -93.7%          4     90.2%      -93.7%
2018-04                            140,013              $4.09           4                  -93.6%          4     90.2%      -93.6%
2018-05                            347,355              $4.49           4                  -92.9%          4     90.2%      -92.9%
2018-06                            395,625              $3.58           4                  -94.4%          4     90.2%      -94.4%
2018-07                            340,401              $5.82           4                  -90.9%          4     90.2%      -90.9%
2018-08                            303,315              $4.84           4                  -92.4%          4     90.2%      -92.4%
2018-09                            250,059              $3.01           4                  -95.3%          4     90.2%      -95.3%
2018-10                            213,897              $1.39           4                  -97.8%          4     90.2%      -97.8%
2018-11                            131,598              $1.46           4                  -97.7%          4     90.2%      -97.7%
2018-12                            409,758              $1.52           4                  -97.6%          4     90.2%      -97.6%
2019-01                            314,055              $2.73           4                  -95.7%          4     90.2%      -95.7%
2019-02                            222,828              $3.60           4                  -94.3%          4     90.2%      -94.3%
2019-03                            222,814              $3.45           4                  -94.6%          4     90.2%      -94.6%
2019-04                            244,835              $2.25           4                  -96.5%          4     90.2%      -96.5%
2019-05                            394,463              $2.29           4                  -96.4%          4     90.2%      -96.4%
2019-06                             37,080              $2.47           4                  -96.1%          4     90.2%      -96.1%
2019-07                             89,280              $3.66           4                  -94.2%          4     90.2%      -94.2%
2019-08                             62,640              $4.62           4                  -92.7%          4     90.2%      -92.7%
2019-09                             49,320              $5.30           4                  -91.7%          4     90.2%      -91.7%
2019-10                             95,400              $3.49           4                  -94.5%          4     90.2%      -94.5%
2019-11                             13,680              $2.54           4                  -96.0%          4     90.2%      -96.0%
2019-12                             33,120              $1.97           4                  -96.9%          4     90.2%      -96.9%




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Attachment E.2: Valcyte and Valganciclovir Yardstick Calculations - Scenario 1
             1              2         3               4             5          6            7         8           9          10
                  Valcyte                 Valganciclovir                Yardstick Inputs                  But-For Yardsticks

                          Average                     3-Month       No. of   Generic       Generic    No. of    Generic    Generic
                         Price per              Moving Average       Gen.    Market          Price     Gen.     Market       Price
Month            Pills         Pill       Pills   Price per Pill   Manuf.     Share        Decline   Manuf.      Share     Decline
Notes:
   1     = E.1 Column 2.
   2     = E.1 Column 3.
   3     = E.1 Column 5.
   4     = E.1 Column 7.
   5     Count of generic manufacturers that launched in the actual world, based on the produced manufacturer sales data.
   6     = Column 3 / (Column 1 + Column 3).
   7     = (Column 2 - Column 2 in October 2014) / (Column 2 in October 2014).
   8     Count of generic manufacturers that would have launched in the but-for world according to the but-for Scenario.
   9     = Column 6, beginning in August 2014. Due to lack of data, from October 2016 onward set equal to September 2016.
   10    From August 2014 to October 2015, set equal to Column 7 starting in December 2014.
         November 2015 to February 2016 are set equal to October 2015.
         From March 2016 onward, set equal to Column 7 from March 2016 onward.




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                                       Attachment F




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